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                Exhibit A
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From:                              Folland, Rob
Sent:                              Friday, July 1, 2022 11:41 AM
To:                                Justin M. Alaburda
Cc:                                DeVillers, David; Paragas, David; Bartolozzi, Jeff; Victoria Ferrise
Subject:                           RE: Student Resource Center/Eastern Gateway Community College


Thank you Justin. To that end please advise ASAP your schedule for next Tuesday and Wednesday. We have called
chambers and the Court would like to know when on those days you will be available for the LR 65.1 scheduling
conference with Judge Marbley. Both David DeVillers and I are available anytime on Tuesday for the conference and
Wednesday is workable as well, but with more challenges.

I also suggest, if at all possible that we have a call later today or over the weekend. I realize Monday is July 4 and timing
is not ideal. However, given the fast approach of July 11, it will be necessary to hold the PI hearing next week. My strong
preference would be to discuss matters with you in advance but obviously, we will proceed as necessary to the extent
your schedule will not allow us to talk prior to the 65.1 conference. If we do not talk, however, be advised we will be
seeking a hearing on either Thursday July 7 or Friday July 8.


 Rob Folland | Partner
 Admitted to practice in Florida, Kentucky, Ohio, and Pennsylvania
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From: Justin M. Alaburda <jmalaburda@bmdllc.com>
Sent: Friday, July 1, 2022 11:11 AM
To: Folland, Rob <Rob.Folland@btlaw.com>
Cc: DeVillers, David <DDeVillers@btlaw.com>; Paragas, David <David.Paragas@btlaw.com>; Bartolozzi, Jeff
<Jeff.Bartolozzi@btlaw.com>; Victoria Ferrise <vlferrise@bmdllc.com>
Subject: [EXTERNAL]Re: Student Resource Center/Eastern Gateway Community College

Rob,

Thank you for your email. I am in meetings today but will review your filings and email.



                                                              1
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Of course, we will need to discuss your questions with our client before we can respond. I expect that we will
be in position to have a discussion and respond by the middle of next week, at which time we would be happy
to join you in a call with the Court.

Thanks,
Justin


       On Jul 1, 2022, at 10:58 AM, Folland, Rob <Rob.Folland@btlaw.com> wrote:

       **External User**

       Good morning Justin,

       My partner David DeVillers and I just attempted to reach you on the phone concerning the
       attached case that was filed yesterday. We understand from Victoria Ferrise that you will be
       taking the lead on this matter for EGCC.

       As you are likely aware, the case has been assigned to Judge Marbley and we have filed a motion
       for a preliminary injunction to be heard and ruled upon prior to July 11. As such, we will need to
       inquire with Judge Marbley today as to scheduling.

       The Motion for PI asks for two things:

       1.    That EGCC be enjoined from terminating the Collaboration Agreement on July 11
       pending determination of the pending breach of contract issues and the contract resolution /
       termination provisions.

       2.     That EGCC be enjoined from any actions to start a competing business operation in
       violation of the Collaboration Agreement pending resolution of the contract issues.

       As you may have seen, SRC has submitted declarations to the court asserting certain factual
       elements relating to the contract terms and EGCC’s actions to set up a competing business. For
       the purposes of planning for the PI hearing and in order to streamline issues for the Court and the
       parties, SRC would like to know:

       1. Does EGCC dispute or wish to present evidence at the PI hearing concerning SRC’s belief that
       EGCC intends to terminate the contract on 7/11/22
       2. does EGCC dispute or wish to present evidence at the PI Hearing concerning SRC’s belief that
       EGCC is starting a competing business to be formed under the Collaboration Agreement that will
       go into operation on 7/11.

       To the extent you believe there is a dispute as to facts on these points, we can advise Judge
       Marbley and will need to obtain his views as to the presentation of evidence. Otherwise, I think
       we can substantially simply the PI hearing as it will only require oral argument

       Also note that we have filed our complaint and PI motion under seal as we were unsure as to
       whether EGCC desires to argue that the Collaboration Agreement must be kept confidential. To
       the extent EGCC agrees that no confidentiality is warranted, SRC will withdraw its motion to file
       under seal and make the applicable filings public.

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We will be reaching out to Judge Marbley’s chambers shortly to advise of the filing of the PI
motion so it is important that we hear from you as soon as possible. Obviously, to the extent you
wish to participate in any calls with the Court, we will coordinate with you and place a joint call
to the Court.

Please contact David DeVillers and myself at your earliest convenience. If we do not hear from
you by noon today, we will reach out to Judge Marbley’s chambers concerning our motion.


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From: Lantz, April <April.Lantz@btlaw.com>
Sent: Thursday, June 30, 2022 3:55 PM
To: vlferrise@bmdllc.com
Cc: Paragas, David <David.Paragas@btlaw.com>; DeVillers, David <DDeVillers@btlaw.com>;
Folland, Rob <Rob.Folland@btlaw.com>
Subject: Student Resource Center/Eastern Gateway Community College

Attached are copies of pleadings filed today in the United States District Court, Southern District
of Ohio Case No. 2:22-cv-02653.

April Lantz | Legal Administrative Assistant
Barnes & Thornburg LLP
41 S. High Street Suite 3300, Columbus, OH 43215-6104
Direct: (614) 628-1468
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